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         Exhibit II
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   No. 16-413
   Vide 16-283
   Title:             Raymond Armstrong, et al., Petitioners
                      v.
                      National Football League, et al.
   Docketed:         September 29, 2016
   Linked with 16A186
   Lower Ct:         United States Court of Appeals for the Third Circuit
    Case Nos.:       (15-2272)
    Decision Date: April 18, 2016
    Rehearing
                     June 1, 2016
   Denied:


   ~~~Date~~~ ~~~~~~~Proceedings and Orders~~~~~~~~~~~~~~~~~~~~~
   Aug 18 2016 Application (16A186) to extend the time to file a petition for a writ of certiorari
               from August 30, 2016 to October 17, 2016, submitted to Justice Alito.
   Aug 19 2016 Response to application from respondent Shawn Wooden, et al. filed.
   Aug 22 2016 Application (16A186) granted by Justice Alito extending the time to file until
               September 19, 2016.
   Sep 8 2016    Application (16A186) to extend further the time from September 19, 2016 to
                 October 3, 2016, submitted to Justice Alito.
   Sep 12 2016 Application (16A186) granted by Justice Alito extending the time to file until
               September 26, 2016. No further extensions will be granted for any reason.
   Sep 26 2016 Petition for a writ of certiorari filed. (Response due October 31, 2016)
   Oct 11 2016 Order extending time to file response to petition to and including November 2,
               2016.
   Oct 26 2016 Brief amicus curiae of Brain Injury Association of America filed.
   Oct 27 2016 Order further extending time to file response to petition to and including
               November 7, 2016.
   Oct 31 2016 Brief amici curiae of 135 Former National Football League Players filed.
   Oct 31 2016 Brief amicus curiae of Public Citizen, Inc. filed.
   Nov 4 2016    Brief of respondents The National Football League and NFL Properties, LLC in
                 opposition filed. VIDED.
   Nov 4 2016    Brief of respondents Turner, et al. in opposition filed. VIDED.
   Nov 21 2016 DISTRIBUTED for Conference of December 9, 2016.
   Nov 21 2016 Reply of petitioners Raymond Armstrong, et al. filed. (Distributed)
   Nov 22 2016 Supplemental brief of respondents Turner, et al. filed. VIDED. (Distributed)
   Dec 12 2016 Petition DENIED.




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   ~~Name~~~~~~~~~~~~~~~~~~~~~             ~~~~~~~Address~~~~~~~~~~~~~~~~~~   ~~Phone~~~
   Attorneys for Petitioners:
   Deepak Gupta                            Gupta Wessler PLLC                 (202) 888-1741
     Counsel of Record                     1735 20th Street, N.W.
                                           Washington, DC 20009
                                           deepak@guptawessler.com
   Party name: Raymond Armstrong, et al.
   Attorneys for Respondents:
   Paul D. Clement                         Kirkland & Ellis LLP               (202) 879-5000
     Counsel of Record                     655 Fifteenth Street, N.W.
                                           Washington, DC 20005
                                           paul.clement@kirkland.com
   Party name: The National Football League and NFL Properties, LLC


   Samuel Issacharoff                      40 Washington Square South         (212) 998-6580
     Counsel of Record                     Suite 411J
                                           New York, NY 10012
                                           si13@nyu.edu
   Party name: Turner, et al.
   Other:
   Steven L. Brannock                      Brannock & Humphries               (813)-223-4300
                                           1111 W. Cass Street, Suite 200
                                           Tampa, FL 33606
                                           sbrannock@bhappeals.com
   Party name: 135 Former National Football League Players


   Shana De Caro                           De Carlo & Kaplen, LLP             914-747-4410
                                           427 Bedford Road
                                           Pleasantville, NY 10570
                                           shana@brainlaw.com
   Party name: Brain Injury Association of America


   Scott L. Nelson                         Public Citizen Litigation Group    (202) 588-1000
                                           1600 20th Street, N.W.
                                           Washington, DC 20009
                                           snelson@citizen.org
   Party name: Public Citizen, Inc.




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